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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

 JOSEPH LEE HOWARD,                     §
                                        §
          Petitioner,                   §
                                        §
 v.                                     §      Criminal Action No. H-02-373
                                        §      Civil Action No. H-05-2895
 UNITED STATES OF AMERICA,              §
                                        §
          Respondent.                   §
                                        §
                                        §
                                        §
                                        §

                               FINAL JUDGMENT

       As the Court has granted Respondent United States of America’s Motion to

Dismiss and denied Howard’s Motion to Vacate, Set Aside, or Correct Sentence,

the Court hereby

       ORDERS that final judgment be entered. Petitioner’s claims against

Respondent are DISMISSED.

       This is a FINAL JUDGMENT.

             SIGNED at Houston, Texas, on this 6 th day of December, 2005.
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                                      __________________________

                                             DAVID HITTNER

                                         United States District Judge
